      CASE 0:13-cr-00305-JNE-JSM       Doc. 54   Filed 03/28/14   Page 1 of 9




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                         Criminal No. 13-305(1) JNE/JJK

                         Plaintiff,

v.                                           REPORT AND RECOMMENDATION

Patrick Henry Adams,

                         Defendant.


             Tracy L. Perzel, Esq., Assistant United States Attorney, for the
                   plaintiff, United States of America; and

             Jordan S. Kushner, Esq., for defendant Patrick Henry Adams.


             This action came on for hearing before the Court, Magistrate Judge

Jeffrey J. Keyes, on March 25, 2014, at the U.S. Courthouse, 316 North Robert

Street, St. Paul, MN 55101. The Court issued an Order on Motions dated March

25, 2014, reserving defendant’s motions for severance of defendants and

dismissal of the indictment for submission to the District Court on Report and

Recommendation.

             Based upon the file and documents contained therein, along with the

motions and memorandums of counsel, the Magistrate Judge makes the

following:
       CASE 0:13-cr-00305-JNE-JSM       Doc. 54   Filed 03/28/14    Page 2 of 9




                          FINDINGS AND CONCLUSIONS

              Severance. Defendant Patrick Henry Adams has filed a motion for

severance requesting that he receive a separate trial from his co-defendants.

(Doc. No. 40.) In his motion Mr. Adams asserts improper joinder, jury difficulty in

distinguishing the alleged acts of each defendant, possible introduction of

evidence that would be inadmissible against certain defendants in a separate

trial, and the lack of evidence of a relationship between himself and a co-

defendant. The government opposes the motion, noting a strong preference for

joint trials for co-conspirators.

              Two or more defendants may be charged in the same indictment if

they are alleged to have participated in the same transaction or series of

incidents constituting an offense or offenses. Fed. R. Crim. P. 8(b). “There is a

preference in the federal system for joint trials of defendants who are indicted

together . . . [because] they promote efficiency and serve the interests of justice

by avoiding the scandal and inequality of inconsistent verdicts.” Zafiro v. United

States, 506 U.S. 534, 537 (1993) (internal quotation marks and citations omitted).

Persons charged with conspiracy should generally be tried together, and it will

rarely be improper to join co-conspirators in a single trial. United States v. Kindle,

925 F.2d 272, 277 (8th Cir. 1991); United States v. Stephenson, 924 F.2d 753,

761 (8th Cir. 1991), cert. denied, 502 U.S. 813 (1991).




                                          2
      CASE 0:13-cr-00305-JNE-JSM        Doc. 54    Filed 03/28/14   Page 3 of 9




             Here, Defendants Patrick Henry Adams, Joel John Virtue, and

Matthew David Birt have been indicted for conspiracy to commit bank fraud and

aiding and abetting bank fraud. (Doc. No. 1.) Under these circumstances, the

general rule in the federal system is that the co-conspirators should be tried

together. See Fed. R. Crim. P. 8(b).

             The Defendants in this case were properly joined under Rule 8 and

there is no requirement for severance based upon misjoinder. Rule 14 severance

is a remedy for prejudice that may develop during trial, and the decision on a

Rule 14 motion for severance lies within the sound discretion of the trial court.

United States v. Robaina, 39 F.3d 858, 861 (8th Cir. 1994). The record in this

matter offers no compelling indication as to how any defendant is prejudiced by

joinder with the another defendant in this case, particularly to the extent

necessary to overcome the preference for joinder of defendants in conspiracy

cases. Specifically, it is not patently apparent that a jury would be unable to

distinguish and apply the evidence relating to one defendant from evidence

relating to another defendant, and there has not been a persuasive particularized

showing that a joined trial will prevent introduction of exculpatory evidence or will

allow introduction of otherwise inadmissible evidence with respect to any

defendant. A defendant is not entitled to severance “simply because evidence

may be admissible as to [a co-defendant] but not as to him.” United States v.

Helmel, 769 F.2d 1306, 1322 (8th Cir. 1985). The values of justice and efficiency

                                          3
       CASE 0:13-cr-00305-JNE-JSM        Doc. 54    Filed 03/28/14    Page 4 of 9




gained by joint trials cannot be overcome without a more exacting showing by

Defendant Patrick Henry Adams.

             The court further concludes that with the assistance of instructions

from the trial court the jury will be fully able to distinguish the acts of each

defendant from the acts of the other defendants so as to avoid prejudice to any of

them. Severance is a remedy that can be provided at the time of trial if

appropriate under the circumstances. At present, there has been no showing to

support a recommendation for severance of defendants.

             Motion to Dismiss based on Pre-indictment Delay. Defendant

Patrick Henry Adams moves for dismissal of the indictment on grounds that a

delay of nearly seven years from the date of the most recent alleged offense and

the return of the indictment has prejudiced the defense and is in violation of his

Fifth Amendment due process rights. The Defendant asserts that he may be

prejudiced as a result of difficulty in locating material witnesses and documents,

including on-line documents that no longer exist. Mr. Adams also generally

contends that the delay was not justified, except as a means to give the

government a tactical advantage.

             To establish a violation of due process rights a defendant must show

that the pre-indictment delay resulted in actual and substantial prejudice to the

defense and the delay is attributable to the government. United States v.

Brockman, 183 F.3d 891, 895 (8th Cir. 1999) (citing United States v. Bartlett, 794

                                            4
      CASE 0:13-cr-00305-JNE-JSM        Doc. 54   Filed 03/28/14   Page 5 of 9




F.2d 1285, 1289 (8th Cir. 1986)). Actual prejudice must be shown through

identification of specific witnesses or documents that were lost during a delay for

which the government was responsible. Id. The Defendant cannot rely on

speculative or conclusory claims of possible prejudice resulting from the passage

of time. Id. In this instance the Defendant’s claim of prejudice is wholly

speculative and is not supported by reference to any particular witnesses or

documents that are no longer available to the defense. Moreover, Defendant

offers no evidence to establish the existence of a tactical purpose or an

advantage to be gained by the government as a result of delaying the indictment.

See United States v. Haskell, 468 F.3d 1064, 1070 (8th Cir. 2006). Defendant

Patrick Henry Adams’ motion to dismiss for pre-trial delay should be denied.



             Motion to Dismiss Indictment based on Failure to State an

Offense. Defendant Patrick Henry Adams moves for dismissal of the indictment

on grounds that the indictment does not state a claim against him because it does

not specify facts sufficient to apprise the Defendant of the nature of the fraud

charges that are alleged. The government argues that the indictment satisfies

the Fed. R. Crim. P. 7(c)(1) requirement that it be a “plain, concise, and definite

written statement of the essential facts constituting the offense charged,” and

insists that the indictment states facts to support the fraud claims that are alleged




                                          5
      CASE 0:13-cr-00305-JNE-JSM        Doc. 54    Filed 03/28/14   Page 6 of 9




and provides ample notice of the particular conduct that is the basis of the

charges.

             Typically, an indictment is sufficient if its language tracks the

language of the statute. United States v. Sewell, 513 F.3d 820, 821 (8th Cir.

2008). But where the indictment alleges violation of mail fraud, wire fraud, or

bank fraud statutes, it must state facts with enough particularity to apprise the

defendant of the nature of the charges and enable the court to find that there are

facts sufficient to support a conviction. United States v. Steffen, 687 F.3d 1104,

1113 (8th Cir. 2012) (citing Brown v. United States, 143 F. 60, 62 (8th Cir. 1906)).

             The indictment in this matter charges Mr. Adams and two co-

defendants with one count of conspiracy to commit bank fraud, and further

charges the same three defendants with five separate counts of aiding and

abetting bank fraud, each count relating to a particularly identified bank

transaction. The conspiracy charge includes a concise statement of the purpose

of the conspiracy; a general, but complete, description of the means in which the

alleged fraudulent activities were completed; and a recitation of overt acts which

references specific dates, dollar amounts, and parties involved in particular

transactions. This Court concludes that the indictment in this matter states the

elements of conspiracy and bank fraud under 18 U.S.C. §§ 371 (conspiracy) and




                                          6
      CASE 0:13-cr-00305-JNE-JSM        Doc. 54    Filed 03/28/14   Page 7 of 9




1344 (bank fraud),1 and provides sufficient facts to apprise the defendant of the

nature of the charge and support a conviction. Dismissal of the Count 1

conspiracy charge is not required.

              Counts 2-6 in the indictment collectively allege that the named

defendants aided and abetted one another in the commission of bank fraud and

the Counts expressly incorporate the prior provisions of the indictment which

describe the purpose and nature of the bank fraud and provide particulars relating

to specific banking transactions. With regard to the aiding and abetting charges,

each of the five indictment Counts is based upon a described mortgage loan

transaction which occurred on or about a particular date, involving expressly

identified parties and a stated amount of money. Again, this Court concludes that

with respect to Counts 2-6, the indictment in this case states the elements of

bank fraud under 18 U.S.C. § 1344, and provides sufficient facts to apprise the




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          18 U.S.C. §§ 1344 states:

         Whoever knowingly executes, or attempts to execute, a scheme or
artifice–
            (1) to defraud a financial institution; or

              (2) to obtain any of the moneys, funds, credits, assets, securities, or
              other property owned by, or under the custody or control of, a
              financial institution, by means of false or fraudulent pretenses,
              representation, or promises;

      shall be fined not more than $1,000,000 or imprisoned not more than 30
years or both.

                                           7
      CASE 0:13-cr-00305-JNE-JSM      Doc. 54   Filed 03/28/14   Page 8 of 9




defendant of the nature of the charge and support a conviction. Dismissal of the

Count 2-6 bank fraud Counts is not required.

            Based upon the foregoing Findings and Conclusions of Law, the

Magistrate Judge makes the following:



                             RECOMMENDATION

            It is Hereby Recommended that:

            1. Defendant Patrick Henry Adams’ Motion for Severance of

Defendants be denied [Docket No. 40];

            2. Defendant Patrick Henry Adams’ Motion to Dismiss based on

Pre-indictment Delay be denied [Docket No. 41]; and

            3. Defendant Patrick Henry Adams’ Motion to Dismiss Indictment

based on Failure to State an Offense be denied [Docket No. 42].


      Dated:      March 28, 2014

                                             s/Jeffrey J. Keyes
                                            Jeffrey J. Keyes
                                            United States Magistrate Judge


              Under D. Minn. LR 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by April
11, 2014, a writing which specifically identifies those portions of this Report to
which objections are made and the basis of those objections. Failure to comply
with this procedure may operate as a forfeiture of the objecting party’s right to
seek review in the Court of Appeals. A party may respond to the objecting party’s
brief within fourteen days after service thereof. All briefs filed under this rule

                                        8
      CASE 0:13-cr-00305-JNE-JSM        Doc. 54    Filed 03/28/14   Page 9 of 9




shall be limited to 3500 words. A judge shall make a de novo determination of
those portions of the Report to which objection is made. This Report and
Recommendation does not constitute an order or judgment of the District Court,
and it is therefore not appealable directly to the Circuit Court of Appeals.

             Unless the parties stipulate that the District Court is not required by
28 U.S.C. § 636 to review a transcript of the hearing in order to resolve all
objections made to this Report and Recommendation, the party making the
objections shall timely order and file a complete transcript of the hearing within
ten days of receipt of the Report.




                                          9
